 J. B. a n d S. T., Petitioners  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: R. T., H. T., and C. T. No. 22SC278Supreme Court of Colorado, En BancMay 23, 2022
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA931
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari DENIED.
    
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